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FILED
APR ~2 2025

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, )
) °
. > casenot 125CR 00136
) Title 18, United States Code,
JOHN F. EVANS, } Sections 922(g)(1) and
) 924(a}(8)
Defendant, )
JUDGE RUIZ

COUNT 1
(Felon in Possession of Firearm, 18 U.S.C. §§ 922(g)(1) and 924(a)(8))

The Grand Jury charges:

1. On or about March 10, 2025, in the Northern District of Ohio, Eastern Division,
Defendant JOHN F. EVANS, knowing he had previously been convicted of crimes punishable
by imprisonment for a term exceeding one year, those being: Domestic Violence, on or about
December 23, 2019, in Case Number CR-19-645627, in Cuyahoga County Common Pleas Court,
Aggravated Assault, on or about September 18, 2012, in Case Number CR-12-563575, in
Cuyahoga County Common Pleas Court, and Aggravated Robbery, on or about April 10, 2008,
in Case Number CR-07-501225, in Cuyahoga County Common Pleas Court, knowingly
possessed in and affecting interstate commerce a firearm, to wit: a Taurus, model Spectrum, .380
caliber pistol, bearing serial number 1F082072, said firearm having been shipped and transported
in interstate commerce, in violation of Title 18, United States Code, Sections 922(g)(1) and

924(a)(8).
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FORFEITURE

The Grand Jury further charges:

2. For the purpose of alleging forfeiture pursuant to Title 18, United States Code,
Section 924(d)(1) and Title 28, United States Code Section, 2461(c), the allegation in Count 1 is
incorporated herein by reference. As a result of the foregoing offense, Defendant JOHN F.
EVANS shall forfeit to the United States any and all firearms and ammunition involved in or

used in the commission of the violation charged in Count 1.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002,
